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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 KURT OLSEN,                                      )
                                                  )
                          Plaintiff,              )
                                                  )     Case No.     1:22-cv-00807-CJN
 v.                                               )
                                                  )
 NANCY PELOSI, et al.,                            )     JOINT STIPULATION AND ORDER
                                                  )     FOR DISMISSAL
                          Defendants.             )


       Plaintiff and Defendants hereby stipulate under Federal Rule of Civil Procedure

41(a)(1)(ii) that this action be dismissed with prejudice as to all claims, causes of action, and

parties, with each party bearing that party’s own attorney’s fees and costs.

       Dated: December 14, 2022                       /s/ Patrick McSweeney
                                                      Patrick M. McSweeney
                                                      VSB# 5669
                                                      McSweeney, Cynkar & Kachouroff, PLLC
                                                      3358 John Tree Hill Road
                                                      Powhatan, Virginia 23139
                                                      (804) 937-0895
                                                      patrick@mck-lawyers.com

       Dated: December 14, 2022                       /s/ Todd B. Tatelman
                                                      Todd B. Tatelman
                                                      Principal Deputy General Counsel
                                                      Office of General Counsel
                                                      U.S. House of Representatives
                                                      5140 O’Neill House Office Building
                                                      Washington, D.C. 20515
                                                      (202) 225-9700 telephone
                                                      (202) 226-1360 fax
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                                     ORDER OF DISMISSAL

        Pursuant to the stipulation of the parties under Federal Rule of Civil Procedure

41(a)(1)(ii), it is ordered that this action be, and hereby is, dismissed with prejudice as to all

claims, causes of action, and parties, with each party bearing that party’s own attorney’s fees and

costs. The Clerk is directed to close the file.

IT IS SO ORDERED.

Dated: ___________, 2022.

                                                  __________________________________________
                                                  UNITED STATES DISTRICT COURT JUDGE
